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 9
10                          UNITED STATES DISTRICT COURT
11                        SOUTHERN DISTRICT OF CALIFORNIA
                                 (Hon. Larry A. Burns)
12
13   UNITED STATES OF AMERICA,                             CASE NO. 20-CR-0479-LAB-1
14                      Plaintiff,                         DECLARATION OF PATRICK
15                                                         Q. HALL IN SUPPORT OF
          vs.                                              MOTION TO (1) CONTINUE
16
                                                           MOTION HEARING, AND (2)
17   DANIEL ANTHONY FISCHBECK, (1)                         EXCLUDE TIME UNDER THE
18                                                         SPEEDY TRIAL ACT
                        Defendant.
19
20
21        I, Patrick Q. Hall, hereby declare as follows:
22        1. I am an attorney duly licensed to practice law in the Southern District of
23           California and was appointed to represent Mr. Fischbeck under the Criminal
24           Justice Act on or about January 14, 2020.
25        2. Mr. Fischbeck is charged in a two count information with two firearm
26           possession charges. In Count One, he is charged with possession of a firearm
27           while subject to a specified restraining order in violation of 18 U.S.C. §§
28           922(g)(8) and 924(a)(2). In Count Two, he is charged with being an unlawful
                                                1
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 1          user or addict to controlled substances in possession of a firearm in violation of
 2          18 U.S.C. §§ 922(g)(3) and 924(a)(2).
 3       3. The motion hearing and trial setting appearance in this case is currently set for
 4          April 17, 2020 at 10:00 a.m.
 5       4. On or about March 11, 2020, Defendant FISCHBECK filed a discovery motion,
 6          (Dkt # 16), which motion is still pending.
 7       5. On or about March 19, 2020, Defendant FISCHBECK was released on bond in
 8          this matter. Since that date, defense counsel has communicated with the
 9          defendant only by phone for the following reasons:
10       6. On March 13, 2020, based upon information provided to me through a number
11          of sources, the decision was made to close my business offices due to the Covid-
12          19, coronavirus pandemic. On that date, all employees were directed to work
13          from home.
14       7. Since my offices have been closed, I have only made one court appearance—
15          the bail modification hearing for Defendant FISCHBECK.
16       8. I am currently 65 years of age and am in the age group of the population
17          described as most vulnerable to the Covid-19 virus (although based on news
18          reports I believe that all age groups in our society are vulnerable to the disease.)
19       9. As a result, I have essentially self-confined at my residence, leaving the
20          residence only to go to the grocery store and pick up files and mail from my
21          office. My family, my wife (recently remarried) and my two step-children, have
22          also confined themselves to the residence, which we believe is essential to
23          prohibit the spread of Covid-19.
24       10. Because of my restrictions, I have not met with clients at jails or at my office.
25          The various jails have imposed frequently changing limitations on personal
26          contacts with inmates, which as of now prohibit in contact visits for the most
27          part.
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 1         11. There are a number of items of discovery in this case, which I still need to
 2            personally review with Defendant FISCHBECK, including body camera
 3            recordings from the law enforcement officers first arresting him. I also need to
 4            review a proposed plea agreement with him.
 5         12. Before his release from custody, Mr. FISCHBECK was isolated at MCC due
 6            to flu-like symptoms.      He was not tested for Covid-19 at the time—late
 7            February, early March.
 8         13. In light of the highly contagious nature of the virus, and State imposed Stay-at
 9            Home directives, I do not feel comfortable personally meeting with Defendant
10            FISCHBECK or any other defendant at this time. For the foregoing reasons, I
11            am requesting that the court issue an order continuing the motion hearing date
12            to June 8, 2020 at 10:00 a.m. and excluding all time under the Speedy Trial Act
13            pursuant to Title 18 U.S.C. 3161(h)(7)(A) (to protect public health and safety in
14            the face of the Covid-19 national emergency) and 18 USC section 3174.
15         14. I have contacted Assistant United States Attorney Benjamin A. Bish, and he
16            has stated that he does not oppose this request.
17
           I declare under penalty of perjury pursuant to the laws of the United States that the
18
     foregoing is true and correct. Executed this 3rd day of April, 2020 at El Cajon, California.
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20
21    s/ Patrick Q. Hall
     PATRICK Q. HALL
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